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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


Debbie Kuciver, individually and on behalf of                       1:21-cv-05964
all others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

KSF Acquisition Corporation,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


       1.      KSF Acquisition Corporation (“defendant”) manufactures, packages, labels,

markets, and sells meal replacement foods such as shakes, bars, and snacks, promising “Clinically

Proven – Lose Weight & Keep It Off,*” and “4hr Hunger Control,” under the SlimFast brand

(“Product”).
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       2.     The back and side labels of the Product describe the SlimFast Plan as “Clinically

Proven,” consisting of:

                  1. ONE SENSIBLE MEAL – enjoy your favorite foods

                  2. REPLACE TWO MEALS A DAY – with shakes, smoothies or bars

                  3. ONE SENSIBLE MEAL – enjoy your favorite foods




       3.     The above claims – and Satisfies hunger” “Energy for hours” “4-hour hunger

control” and control blood sugar – appear on over fifty (50) SlimFast items.

       4.     Weight loss appeals to the many Americans who are considered overweight.

       5.     Consumers who view the Clinically Proven claims will expect the Product and Plan

is proven to achieve the results indicated.

       6.     Consumers will expect that (1) the Products on which the claim appears has been

clinically proven to achieve and maintain weight loss and (2) the Products have been clinically

proven to promote weight loss and keep it off when used as part of the SlimFast plan.

       7.     A claim that something is “clinically proven” requires clinical studies.


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       8.     Defendant’s clinically proven claims are false, because it does not possess evidence

to support them, such as randomized and relevant controlled studies.

       9.     The studies relied upon to support the clinically proven claim are from products

introduced many years ago, which are no longer sold.

       10.    Defendant has not clinically tested the weight-loss efficacy of the Products.

       11.    Defendant’s clinical trials are of discontinued SlimFast products, as part of a high

carbohydrate diet with no resemblance to today’s products, which are higher in fat, protein, and

contain fewer carbohydrates.

       12.    Defendant’s clinically proven claims are false because the products and plan upon

which the claims are based have not been offered for many years.

       13.    Defendant’s studies about the SlimFast plan being clinically proven are not even

entirely relevant to weight loss.

       14.    For instance, one study of required only two snacks per day, and did not involve the

participants exercising, nor adjust for higher calories consumed by men.

       15.    Another study failed to indicate whether any specific eating plan was required.

       16.    Another study involved subjects being advised to eat various servings of fruits and

vegetables per day, in addition to meal replacements and meals.

       17.    No current SlimFast plan requires consumption of a set number of fruits and

vegetables.

       18.    Other studies involve adherence to a low-calorie diet using SlimFast products to

achieve a calorie deficit.

       19.    Studies relied upon for the “Keep It Off” part of the claim are not supportive of the

clinically proven claims because they show that over 20% participants’ weight was regained at the




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end of one-year.

       20.    Guidelines provided by the government indicate that longer term evidence of

continued weight loss ad- vantage of meal replacement programs is lacking.

       21.    Defendant’s back label seeks to disclaim the unqualified front label claim.




       22.    The text, “*When Used as Part of the SlimFast Plan,” is small and difficult to read.




       23.    The other claims – regarding hunger control, satiety, and blood sugar, are false and

misleading.

       24.    Defendant’s hunger control claim is misleading because the studies relied upon had

limited consumer relevance because the subjects were not given food during the test period, so



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whether or not they could control their hunger was not actually evaluated.

        25.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes, and features of a Product, relative to itself and other

comparable products or alternatives.

        26.   The value of the Product that plaintiff purchased was materially less than its value as

represented by defendant.

        27.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

        28.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

        29.   The Product is sold for a price premium compared to other similar products, no less

than $12.79 for eight 11 oz bottles, a higher price than it would otherwise be sold for, absent the

misleading representations and omissions.

                                            Jurisdiction and Venue

        30.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

        31.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

        32.   Plaintiff Debbie Kuciver is a citizen of Illinois.

        33.   Defendant KSF Acquisition Corporation is a Delaware corporation with a principal

place of business in Palm Beach Gardens, Palm Beach County, Florida.

        34.   Defendant transacts business within this district by selling its Products to thousands

of retailers in this district, and directly shipping the Products to persons in this district.




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       35.   The parties are citizens of different states.

       36.   Venue is in this District because plaintiff resides in this district and the actions giving

rise to the claims occurred within this district, Plaintiff’s purchase of the Product and awareness

of the issues described herein.

       37.   Venue is in the Eastern Division because Plaintiff resides in DuPage County.

                                               Parties

       38.   Plaintiff Debbie Kuciver is a citizen of Wood Dale, DuPage County, Illinois.

       39.   Defendant KSF Acquisition Corporation is a Delaware corporation with a principal

place of business in Palm Beach Gardens, Florida, Palm Beach County.

       40.   SlimFast is a pioneer in weight control, going back to its founding in the 1940s.

       41.   This long history has provided it cachet and caused consumers to instinctively trust

the SlimFast brand.

       42.   The Product is sold at the thousands of locations including drug stores, grocery

stores, big box stores, convenience stores, and online.

       43.   Plaintiff bought the Product, such as the SlimFast Original Rich Chocolate Royale

Meal Replacement Shake, on one or more occasions within the statutes of limitations for each

cause of action alleged, at stores including Jewel-Osco, 343 W Irving Park Rd, Wood Dale, IL

60191, during 2020 and/or 2021, among other times.

       44.   Plaintiff counts herself among the many Americans who would like to lose weight.

       45.   Plaintiff bought the Product because she expected the Product and SlimFast plan to

be clinically proven to lose weight and keep it off, would control hunger and blood sugar.

       46.   Plaintiff bought the Product at or exceeding the above-referenced price.

       47.   Plaintiff relied on the representations identified here.




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       48.    Plaintiff would not have purchased the Product if she knew the representations were

false and misleading.

       49.    Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the claims made by Defendant.

       50.    The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

       51.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with their abilities.

       52.    Plaintiff has purchased fewer items that promise they are clinically proven since

becoming aware of this issue but wants to resume purchasing such items because she cannot

imagine that all such claims that a product is clinically proven are as false as those here, but then

again, she would not have expected Defendant’s claims to be false.

                                         Class Allegations

       53.    Plaintiff seeks certification under Fed. R. Civ. P. 23(b)(2) and (b)(3) of the following

classes:

               Illinois Class: All persons in the State of Illinois who
               purchased the Product during the statutes of limitations for
               each cause of action alleged.

               Consumer Fraud Multi-State Class: All persons in the
               States of North Dakota, Kansas, Texas, Wyoming, and
               Delaware, who purchased the Product during the statutes of
               limitations for each cause of action alleged

       54.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       55.    Plaintiff's claims and basis for relief are typical to other members because all were



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subjected to the same unfair and deceptive representations and actions.

       56.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       57.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       58.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       59.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       60.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                  (Consumer Protection Statute)

       61.    Plaintiff incorporates by reference all preceding paragraphs.

       62.    The Illinois Consumer Fraud and Deceptive Business Practices Act provides

protection for consumers purchasing items like the Product, and states:

       Unfair methods of competition and unfair or deceptive acts or practices, including
       but not limited to the use or employment of any deception, fraud, false pretense,
       false promise, misrepresentation or the concealment, suppression, or omission of
       any material fact, with intent that others rely upon the concealment, suppression or
       omission of such material fact . . . are hereby declared unlawful

       815 ILCS 505/2.

       63.    Plaintiff and class members expected the Product and SlimFast plan to be clinically

proven to lose weight and keep it off, would control hunger and blood sugar.

       64.    Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.



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       65.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       66.    Plaintiff relied on the representations.

       67.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       68.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class

prohibit the use of unfair or deceptive business practices in the conduct of trade or commerce.

       69.    Defendant intended that plaintiff and each of the other members of the Consumer

Fraud Multi-State Class would rely upon its deceptive conduct, and a reasonable person would in

fact be misled by this deceptive conduct.

       70.    As a result of defendant’s use or employment of artifice, unfair or deceptive acts or

business practices, plaintiff, and each of the other members of the Consumer Fraud Multi-State

Class, have sustained damages in an amount to be proven at trial.

       71.    In addition, defendant’s conduct showed malice, motive, and the reckless disregard

of the truth such that an award of punitive damages is appropriate.

                                   Breaches of Express Warranty,
                              Implied Warranty of Merchantability and
                        Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       72.    The Product was manufactured, labeled, and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that the Product and SlimFast plan was

clinically proven to lose weight and keep it off, would control hunger and blood sugar




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       73.   Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       74.   This duty is based on Defendant’s outsized role in the market for this type of Product,

a trusted and leading brand in the area of weight control.

       75.   Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers, and their employees.

       76.   Defendant received notice and should have been aware of these issues due to

complaints by regulators, third-party evaluators, competitors, and consumers, to its main offices.

       77.   The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and was not clinically proven, and did not control hunger or blood sugar.

       78.   Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       79.   Defendant had a duty to truthfully represent the Product, which it breached.

       80.   This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area, as custodian of the SlimFast brand.

       81.   Because weight loss is an area which many consumers are embarrassed about, they

are vulnerable to trusting companies which make bold promises.

       82.   Consumers are reluctant to talk with others about their weight control issues, which

means the companies selling them solutions have a special obligation to treat them with care.

       83.   The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in SlimFast, a globally recognized and trusted brand.

       84.   Plaintiff and class members reasonably and justifiably relied on these negligent




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misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       85.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                                Fraud

       86.    Defendant misrepresented and/or omitted the attributes and capabilities of the

Product.

       87.    Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

clinically proven.

                                         Unjust Enrichment

       88.    Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory


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      claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: November 6, 2021
                                                         Respectfully submitted,

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